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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  NEWNAN DIVISION

IN RE:                                          §     CHAPTER 7
                                                §
Jason Robert Harvey,                            §     CASE NO. 16-12022-whd
                                                §
      Debtor.                                   §
_____________________________________           § _____________________________________
                                                §
CC Financing, LLC,                              §     ADVERSARY PROCEEDING
                                                §     NO.
         Plaintiff,                             §
                                                §
vs.                                             §
                                                §
Jason Robert Harvey,                            §
                                                §
         Defendant.                             §

             COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT


         COMES NOW, CC Financing, LLC (“CC”), creditor and party in interest in the above

styled case, and by and through its counsel of record, files this Complaint to Determine

Dischargeability of Debt. In support thereof, CC respectfully show this Court as follows:
                                                1.

         Jason Robert Harvey (the “Debtor”) filed for relief under Chapter 7 of Title 11 of the

United States Code on October 6, 2016.

                                                2.

         This adversary proceeding is a core proceeding as defined by 28 U.S.C. § 157(b)(2)(I)

and is being brought in connection with the above captioned Chapter 7 Case No. 16-12022-

whd now pending in this Court. This Court has jurisdiction over this matter pursuant to 28 U.S.C.
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§§157 and 1334, 11 U.S.C. § 523 and Local Rule 1070-1, Northern District of Georgia. Venue

is proper in this Court pursuant to 28 U.S.C. § 1409, et seq.

                                                 3.

       The Debtor is subject to the jurisdiction and venue of this Court. The Debtor may be

served with process in this Adversary Proceeding by mailing a copy of the Summons and Complaint

by First Class U.S. Mail, postage pre-paid to Jason Robert Harvey, 15 Henley Lane, Newnan,

Georgia 30263; and by and through his counsel of record, Christopher Carouthers, Esq.,

Christopher Carouthers and Associates; Suite 131, 2250 North Druid Hills Road, Atlanta, Georgia

30329 or by such other means as may be permitted by Rule 7004 of the Federal Rules of

Bankruptcy Procedure.

                                            PARTIES

                                                 4.

       CC Financing, LLC, Plaintiff, is a limited liability company organized and existing under

the laws of the State of Georgia, with its principal place of business located at 200 N. Cobb

Pkwy, Building 300, Suite 316, Marietta, GA 30062.

                                                 5.

       Defendant Jason Harvey is a resident of Coweta County, Georgia and may be served at

his residence located at 15 Henley Lane, Newnan, Georgia 30263.

                                             FACTS

                                                 6.

       On October 18, 2013 Defendant Jason Harvey approached Plaintiff’s representative, David

Kyle Cooper (hereinafter "Kyle Cooper") about a real estate investment deal in Liberty County,

Georgia, where the parties would purchase certain real property; subsequently sell said real

property; and, split any profits derived therefrom (hereinafter the "Liberty County Deal"). The
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parties memorialized the terms of this agreement in writing on October 29, 2013 (the “Liberty

County Agreement”). A true and correct copy of the Liberty County Agreement is attached and

incorporated by reference as Exhibit “A”. The parties also agreed that $100,000.00 of this earnest

money would be subject to a promissory note (the” Liberty County Promissory Note”). A true

and correct copy of the Liberty County Promissory Note is attached hereto and incorporated by

reference as Exhibit “B”.

                                                 7.

       To purchase the underlying real property for the Liberty County Deal, Defendant Jason

Harvey requested that Plaintiff advance him the earnest money required in the real estate sale

contract in the amount of Two Hundred Thousand Dollars ($200,000). This contract for sale of

the subject real property had previously been entered into between Defendant’s company,

Founders Holdings, LLC (Plaintiff holds a judgment against both Founders Holdings, LLC and Jason

Harvey for the facts alleged herein) as buyer and unrelated third party Oak Creek Developments,

LLC, a s seller. The total sales price of the subject Liberty County property was One Million

One Hundred Thousand Dollars ($1,100,000). A true and correct copy of the Liberty County

Sales Contract is attached hereto and incorporated by reference as Exhibit “C”.

                                                 8.

       Prior to the Liberty County Deal, Defendant Jason Harvey, while employed at Paran

Homes, LLC, and as a representative thereof, worked together with Plaintiff and directly with

Plaintiff’s representative, Kyle Cooper, on various landscaping projects throughout year 2013.

                                                 9.

       Also, Defendant Jason Harvey, in his sole capacity, had worked with Plaintiff and

Plaintiff’s representative, Kyle Cooper, on a real estate technology application that would improve
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certain sectors of the real estate repair field. Throughout the parties’ past dealings, Jason Harvey

had always conducted himself in a respectable businesslike manner.

                                                   10.

           Due to the goodwill Jason Harvey had built with Plaintiff, in response to Jason Harvey's

 request that Plaintiff advance the earnest money for the Liberty County purchase, on October

 21, 2013, Plaintiff transferred funds via bank wire in the amount of $200,000 to Founders

 Holdings, LLC’s bank account at Bank of America. Plaintiff and Founders agreed that

 Founders was to then transfer the same $200,000 to the escrow agent named in the contract for

 the Liberty County property dated October 18, 2013 as the required earnest money.

                                                   11.

       Jason Harvey confirmed that the $200,000 was received in Founders’ bank account and

sent an email to Plaintiff’s representative, Kyle Cooper, with a picture of the bank account

balance.

                                                   12.

       Neither Defendant Jason Harvey nor Founders ever transferred Plaintiff’s $200,000 to the

escrow agent as earnest money as required.

                                                   13.

       Defendant Jason Harvey, individually and as the representative for Founders,

sporadically corresponded with Plaintiff’s representative, Kyle Cooper, through March 29,

2014; each time informing Mr. Cooper that the Liberty County Deal was still being worked out.
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                                                  14.

       With a string of emails beginning March 25, 2014, Mr. Harvey began purposefully

misleading Plaintiff that he initiated a wire transfer to Plaintiff’s bank account for the entire

amount owed. On March 29, 2014 Defendant Jason Harvey wrote an email to Kyle Cooper

that Plaintiff’s money was still in Founders’ bank account; hence, Jason Harvey never

transferred Plaintiff’s money to the escrow agent named in the contract for the Liberty County

property. A true and correct copy of these emails is attached hereto as Exhibit “D”.

                                                  15.

       In the same March 29, 2014 email from Defendant Jason Harvey to Kyle Cooper, Harvey

stated that he held on to Plaintiff’s money to get a home loan on his house.

                                                  16.

       Despite numerous demands, Defendant never returned any portion of Plaintiff’s

$200,000. Defendant stands unjustly enriched in the amount of $200,000 directly to the

detriment of the Plaintiff. Defendant never intended to honor his obligation to pay his debt to

Plaintiff and fraudulently converted the funds for his own enjoyment and use.

                                                  17.

       In admitting to hold Plaintiff’s money for the personal reason of securing a home loan,

Jason Harvey, individually, stripped himself and Founders of protections afforded under the GA

Limited Liability Company Act, as fraudulently attaining money for the purpose of an individual

home loan would not be a valid business purpose under the act.
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                                                   18.

       On April 14, 2014, Plaintiff filed a lawsuit in the Superior Court of Coweta County against Jason

Harvey and his company, Founders Holdings, LLC, Case No. 2014-SU-V-391-EP (the “State Court

Action”).

                                                   19.

       Defendant failed to Answer the Complaint filed by Plaintiff in the State court Action. As a

result, the Superior Court of Coweta County entered a default judgment on July 18, 2014 in the

amount of $206,305.00 against Defendant for fraud. A true and correct copy of the Default Judgment

is attached hereto and incorporated by reference as Exhibit “E”.

                                                   20.

       On January 5, 2016, Plaintiff recorded a Writ of Fieri Facias (the “FiFa”) with the Clerk of

the Superior Court of Coweta County. A true and correct copy of the FiFa is attached hereto and

incorporated by reference as Exhibit “F”.

                               COUNT I - 11 U.S.C. §523(a)(2)(A)

                                                   21.

       Plaintiffs reallege and incorporates herein by reference paragraphs 1 through 20 of this

Complaint as if fully stated herein.

                                                   22.

       11 U.S.C. § 523(a)(2)(A) provides that a discharge under Section 727 of the Bankruptcy

Code “does not discharge an individual debtor from any debt . . . (2) for money, property,

services, or an extension, renewal, or refinancing of credit, to the extent obtained by . . . (A) false

pretenses, a false representation, or actual fraud, other than a statement respecting the debtor's or

an insider's financial condition.”
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                                                 23.

       Pursuant to 11 U.S.C. § 523(c)(1), on request of the creditor to whom such debt is owed,

and after notice and a hearing, the bankruptcy court may determine such debt to be excepted

from discharge under 11 U.S.C. § 523(a)(2)(A).

                                                 24.

       On October 18, 2013 Defendant Jason Harvey, with intent to defraud Plaintiff,

represented to Plaintiff's representative, Kyle Cooper, that Defendant needed Two Hundred

Thousand Dollars ($200,000) to remit as earnest money for the Liberty County Deal. He

further falsely represented that such funds would immediately be remitted to the escrow agent for

purchase of the real property pursuant to the Liberty County Sales Contract.

                                                 25.

       The representations were known by Defendant to be false. In truth, Defendant Jason

Harvey held Plaintiff's money in Founders’ bank account for his own personal use and for

the purpose of obtaining a home loan for his personal residence.

                                                 26.

       Plaintiff believed and reasonably relied upon the false representations of the

Defendant; which included, inter alia, that Defendant would remit the money to the escrow

agent for the Liberty County purchase, and thus Plaintiff was induced to wire $200,000 dollars to

Founders’ bank account.

                                                 27.

       Plaintiff’s reliance upon the false representations was justifiable and reasonable

because Plaintiff and Plaintiff’s representative had conducted business with Defendant Jason
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Harvey in the past, both personally and as a representative of his former employer, Paran Homes,

LLC.

                                                  28.

       Defendant is liable to Plaintiff for the $206,305.00 judgment awarded to it by the

Superior Court of Coweta County on July 18, 2014, plus interest at the appropriate post-

judgment rate pursuant to Georgia law until the debt is paid in full.

                                                  29.

       Based on the foregoing, the debt owed by Defendant to Plaintiff should be held non-

dischargeable in bankruptcy pursuant to 11 U.S.C. §523(a)(2)(A).

                                                  30.

       The doctrine of collateral estoppel seeks to prevent the re-litigation of issues previously

contested and determined by a valid and final judgment in another court. Caitlin Energy, Inc. v.

Rachel (In re Rachel), 527 B.R. 529, 537 (Bankr. N.D.Ga. 2015)(citing Estate of Newton v.

Lemmons (In re Lemmons), 2005 WL 6487216, at *2 (Bankr.N.D.Ga.2005)). The doctrine of

collateral estoppel applies to non-dischargeability proceedings. Id. (citing Grogan v. Garner, 498

U.S. 279, 284 n. 11, 111 S.Ct. 654, 112 L.Ed.2d 755 (1991)). When reviewing a superior court

judgment under the doctrine of collateral estoppel, a federal court must accord the judgment the

same preclusive effect as it would be given under the law of the state in which the judgment was

rendered. Id.

                                                  31.

       This Court must, therefore, turn to Georgia law to determine the preclusive effect of the

Superior Court Judgment against the Debtor. Id. “While collateral estoppel may foreclose

relitigation of issues decided in prior judicial proceedings, the ultimate issue of dischargeability
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is a legal question over which the bankruptcy court has exclusive jurisdiction.” Id. (citations

omitted). Under Georgia law, a party may only assert the doctrine of collateral estoppel when the

following elements have been satisfied: (1) identity of the parties is the same; (2) identity of the

issues is the same; (3) actual and final litigation of the issue in question occurred; (4) the

adjudication was essential to the earlier action; and (5) the parties had a full and fair opportunity

to litigate the issues in question. Id.

                                                   32.

        In this case, the identity of the parties is the same, the issues are the same (fraud), actual

and final litigation occurred, the adjudication was essential to the State Court Action, and the

Debtor/Defendant had a full and fair opportunity to litigation the issues of fraud. “Georgia law

recognizes a default judgment as a judgment on the merits entitled to preclusive effect.” Id. At

538 (citing McKelvey v. Murray (In re Murray), 2009 WL 6527593, at *2 (Bankr. N.D.Ga.

2009)). The default judgment was not appealed, and Defendant Harvey made numerous attempts

to avoid post-judgment discovery. As a result, Defendant is collaterally estopped from re-

litigating the issues related to the fraud her perpetrated against Plaintiff, and Plaintiff is entitled

to a determination that Defendant’s debt is non-dischargeable pursuant to 11 U.S.C.

§523(a)(2)(A).

                                  COUNT II - 11 U.S.C. §523(a)(4)

                                                   33.

        Plaintiff realleges and incorporates herein by reference paragraphs 1 through 32 of this

Complaint as if fully stated herein.
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                                                  34.

       11 U.S.C. 523(a)(4) provides that a debtor may not be granted a discharge from any debt

for fraud or defalcation while acting in a fiduciary capacity, embezzlement, or larceny.

                                                  35.

       By their Liberty County Agreement, Plaintiff gave Jason Harvey, through Founders,

$200,000.00 to be held in escrow until the sale of the property subject to the Liberty County

Sales Contract.

                                                  36.

       Through the Liberty County Agreement, Defendant Harvey agreed to act as a fiduciary

with Plaintiff’s $200,000.00 by agreeing to transmit those funds to an escrow agent. By failing to

do so, Defendant breached his fiduciary duty to Plaintiff.

                                                  37.

       By fraudulently converting Plaintiff’s funds that had been entrusted to him for his own

use and enjoyment, Defendant embezzled Plaintiff’s funds under 523(a)(4).

                                                  38.

       Defendant is liable to Plaintiff for the $206,305.00 judgment awarded to it by the

Superior Court of Coweta County on July 18, 2014, plus interest at the appropriate post-

judgment rate pursuant to Georgia law until the debt is paid in full.

                                                  39.

       Based on the foregoing, the debt owed by Defendant to Plaintiff should be held non-

dischargeable in bankruptcy pursuant to 11 U.S.C. §523(a)(4).
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                               COUNT III - 11 U.S.C. §523(a)(6)

                                                  40.

       Plaintiff realleges and incorporates herein by reference paragraphs 1 through 39 of this

Complaint as if fully stated herein.

                                                  41.

       11 U.SC. 523(a)(6) provides that a discharge under section 727 of the bankruptcy code

“does not discharge an individual debtor from any debt . . . (6) for willful and malicious injury

by the debtor to another entity or property of another entity.”

                                                  42.

       Defendant’s conversion of Plaintiff’s funds for his own personal benefit was an

intentional and willful act.

                                                  43.

       Defendant knew that such funds were to be earmarked for the Liberty County Agreement.

Instead of sending the funds to the escrow agent, Defendant knowingly and maliciously

converted such funds for his own use.

                                                  44.

       Defendant willfully and maliciously injured Plaintiff’s property in the amount depicted in

Plaintiff’s judgment against Defendant.

                                                  45.

       Based on the foregoing, the debt owed by Defendant to Plaintiff should be held non-

dischargeable in bankruptcy pursuant to 11 U.S.C. §523(a)(6).



       WHEREFORE, Plaintiffs pray that this Court Order as follows:
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       (a)       the entry of a judgment and order determining that Defendant’s debt to Plaintiff

       shall be excepted from discharge, pursuant to 11 U.S.C. §523(a) and (c)(1);

       (b)       that Plaintiff has such other and further relief as this Court deem just and

       proper.

       Respectfully submitted, this 9th day of November, 2016.

                                                        /s/ Will B. Geer
                                                        Georgia Bar No. 940493


Law Office of Will B. Geer, LLC
333 Sandy Springs Circle, NE
Suite 225
Atlanta, Georgia 30328
T: 678-587-8740
F: 404-287-2767
willgeer@willgeerlaw.com
Attorney for the Plaintiff
         Case
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                                                                                             Kyle Cooper <kyle@propertymasters.com>



  IMG_5207­1.png
  16 messages

  Jason Harvey <jharvey4128@gmail.com>                                                                         Tue, Mar 25, 2014 at 2:32 AM
  To: Kyle Cooper <kyle@propertymasters.com>

     My sleep hours are all messed up with the meds so apologies for emailing late. I forgot to send this over earlier. Funds
     hit my account. BoA has your wiring instructions. Thanks.




     Sent from my iPhone




                             IMG_5207­1.png
                             117K




  Kyle Cooper <kyle@propertymasters.com>                                                                       Tue, Mar 25, 2014 at 7:55 AM
  To: Jason Harvey <jharvey4128@gmail.com>

     What about the contract docs?

     Kyle Cooper
     Property Masters
     200 N. Cobb Pkwy
     Building 300, Suite 316
     Marietta GA 30062
     770.792.5533 Office
     770.874.1862 Fax
     678.251.1827 Direct
     Kyle@propertymasters.com

     Property Masters wishes to provide the highest level of customer
     service. Our goal is to exceed your expectations! If the level of
     service provided was exceptional, or if I have not met your
     expectations, please notify the Property Masters Customer Service Team
     (customer.service@propertymasters.com). We welcome any feedback or
     suggestions on how to improve your experience.

     > On Mar 25, 2014, at 2:32 AM, Jason Harvey <jharvey4128@gmail.com> wrote:
     >
     > My sleep hours are all messed up with the meds so apologies for emailing late. I forgot to send this over earlier. Funds
     hit my account. BoA has your wiring instructions. Thanks.
     >
     > <IMG_5207­1.png>
     >
     >

https://mail.google.com/mail/u/0/?ui=2&ik=fca574441d&view=pt&q=harvey&qs=true&search=query&th=144f7f06f4766c6c&siml=144f7f06f4766c6c&siml=144f9… 1/7
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     >                                                Document           Page 25 of 31
     > Sent from my iPhone


  Kyle Cooper <kyle@propertymasters.com>                                                                      Tue, Mar 25, 2014 at 11:43 AM
  To: Jason Harvey <jharvey4128@gmail.com>

     I am not showing a pending deposit on my end yet. Has your bank sent you a wire confirmation email yet?


     Kyle Cooper
     Property Masters
     200 N. Cobb Pkwy
     Building 300, Suite 316
     Marietta, GA 30062
     770.792.5533 Office
     678.251.1827 Direct
     770.874.1862 Fax
     kyle@propertymasters.com




     Property Masters wishes to provide the highest level of customer service. Our goal is to exceed your expectations! If
     the level of service provided was exceptional, or if I have not met your expectations, please notify the Property Masters
     Customer Service Team (customer.service@propertymasters.com). We welcome any feedback or suggestions on how
     to improve your experience.


     On Tue, Mar 25, 2014 at 2:32 AM, Jason Harvey <jharvey4128@gmail.com> wrote:
      My sleep hours are all messed up with the meds so apologies for emailing late. I forgot to send this over earlier.
      Funds hit my account. BoA has your wiring instructions. Thanks.




         Sent from my iPhone



  Jason Harvey <jharvey4128@gmail.com>                                                                        Tue, Mar 25, 2014 at 12:11 PM
  To: Kyle Cooper <kyle@propertymasters.com>

     I'll give them a shout. Typically I go in and sign for a wire and get the paperwork. Since I gave the banker your info I
     didn't receive confirmation paperwork. It is 100% for a fact going out. Like I said, I've seen a wire take 10min to a day
     and a half. I don't typically keep much money in my basic business account so I don't get the privileges you big guys
     do.

     J

     Sent from my iPhone
     [Quoted text hidden]



  Jason Harvey <jharvey4128@gmail.com>                                                                         Tue, Mar 25, 2014 at 1:47 PM
  To: Kyle Cooper <kyle@propertymasters.com>

     I just spoke to the lady at BoA. The wire is on the to do list of the person in charge that does that but she has stepped
     out. I promise you on my first born son that it is set up to go. I will get a copy of the confirmation when it sends to you
     for verification.

     Jason

     Sent from my iPhone

https://mail.google.com/mail/u/0/?ui=2&ik=fca574441d&view=pt&q=harvey&qs=true&search=query&th=144f7f06f4766c6c&siml=144f7f06f4766c6c&siml=144f9… 2/7
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                                                      Document           Page 26 of 31
     On Mar 25, 2014, at 11:43 AM, Kyle Cooper <kyle@propertymasters.com> wrote:

     [Quoted text hidden]



  Jason Harvey <jharvey4128@gmail.com>                                                                        Wed, Mar 26, 2014 at 8:50 AM
  To: Kyle Cooper <kyle@propertymasters.com>

     The lady at BoA called just now. I have to come in and sign for the wire due to the type of acct I have. I have a dr check
     up so that works fine. I'll sign it and get a copy to you.

     Once again, for clarity, I apologize for the delay but your money is 100% coming back to you. I know when things drag
     out people get nervous, as I would too. I'll hit ya when I'm done at the bank. Thank you.

     J

     Sent from my iPhone

     On Mar 25, 2014, at 11:43 AM, Kyle Cooper <kyle@propertymasters.com> wrote:

     [Quoted text hidden]



  Kyle Cooper <kyle@propertymasters.com>                                                                      Wed, Mar 26, 2014 at 3:19 PM
  To: Jason Harvey <jharvey4128@gmail.com>

     Any update?



     Kyle Cooper
     Property Masters
     200 N. Cobb Pkwy
     Building 300, Suite 316
     Marietta, GA 30062
     770.792.5533 Office
     678.251.1827 Direct
     770.874.1862 Fax
     kyle@propertymasters.com




     Property Masters wishes to provide the highest level of customer service. Our goal is to exceed your expectations! If
     the level of service provided was exceptional, or if I have not met your expectations, please notify the Property Masters
     Customer Service Team (customer.service@propertymasters.com). We welcome any feedback or suggestions on how
     to improve your
     experience.
     [Quoted text hidden]



  Jason Harvey <jharvey4128@gmail.com>                                                                       Thu, Mar 27, 2014 at 12:25 AM
  To: Kyle Cooper <kyle@propertymasters.com>

     Signed late this afternoon.

     Again, I've seen it take 5min and I've seen it take more than a day. There's no real reason other than I have the lowest
     acct possible but it is done.



     Sent from my iPhone
     [Quoted text hidden]



https://mail.google.com/mail/u/0/?ui=2&ik=fca574441d&view=pt&q=harvey&qs=true&search=query&th=144f7f06f4766c6c&siml=144f7f06f4766c6c&siml=144f9… 3/7
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  Jason Harvey <jharvey4128@gmail.com> Document           Page     27  of 31              Fri, Mar 28, 2014 at 7:18 AM
  To: Kyle Cooper <kyle@propertymasters.com>

     Update two.

     I checked every hour yesterday to see if it had left my acct yet. I spoke with BoA customer service last night and got to
     the bottom of why it can take a little longer than normal with my acct. Because it's the lowest tier business acct and I
     don't normally have a lot of money, activity or do wire transfers it gets scrutinized a bit more. If I wire $5K, it'd take
     5min. When I wire a large sum it throws a red flag for BoA Security to check and takes a little longer.

     On my mothers grave and first born son this wire is coming to you. I'll keep emailing you updates so you'll have it in
     written form and pick up a scanner and get the receipt to you later today. I apologize for the delay but it will be there
     soon.

     J

     Sent from my iPhone

     On Mar 26, 2014, at 3:19 PM, Kyle Cooper <kyle@propertymasters.com> wrote:

     [Quoted text hidden]



  Kyle Cooper <kyle@propertymasters.com>                                                                       Fri, Mar 28, 2014 at 10:29 AM
  To: Jason Harvey <jharvey4128@gmail.com>

     Can you cancel the wire and get me a cashiers check. I will come get it today.



     Kyle Cooper
     Property Masters
     200 N. Cobb Pkwy
     Building 300, Suite 316
     Marietta, GA 30062
     770.792.5533 Office
     678.251.1827 Direct
     770.874.1862 Fax
     kyle@propertymasters.com




     Property Masters wishes to provide the highest level of customer service. Our goal is to exceed your expectations! If
     the level of service provided was exceptional, or if I have not met your expectations, please notify the Property Masters
     Customer Service Team (customer.service@propertymasters.com). We welcome any feedback or suggestions on how
     to improve your
     experience.
     [Quoted text hidden]



  Jason Harvey <jharvey4128@gmail.com>                                                                         Fri, Mar 28, 2014 at 11:03 AM
  To: Kyle Cooper <kyle@propertymasters.com>

     Actually that's a great idea. I'll call now. I drove down to south ga for the day and will be back tomorrow. If I can stop it
     I'll get the check then we can meet tomorrow or Monday and settle up. Good thinking.



     Sent from my iPhone
     [Quoted text hidden]



  Kyle Cooper <kyle@propertymasters.com>                                                                       Fri, Mar 28, 2014 at 11:14 AM
  To: Jason Harvey <jharvey4128@gmail.com>

https://mail.google.com/mail/u/0/?ui=2&ik=fca574441d&view=pt&q=harvey&qs=true&search=query&th=144f7f06f4766c6c&siml=144f7f06f4766c6c&siml=144f9… 4/7
11/7/2016   Case 16-01034-whd               Doc 1      Filed  11/09/16
                                                           Property Masters MailEntered    11/09/16 12:36:31
                                                                                 ­ IMG_5207­1.png                       Desc Main
     I need to get the money today.                   Document           Page 28 of 31



     Kyle Cooper
     Property Masters
     200 N. Cobb Pkwy
     Building 300, Suite 316
     Marietta, GA 30062
     770.792.5533 Office
     678.251.1827 Direct
     770.874.1862 Fax
     kyle@propertymasters.com




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     Customer Service Team (customer.service@propertymasters.com). We welcome any feedback or suggestions on how
     to improve your
     experience.
     [Quoted text hidden]



  Jason Harvey <jharvey4128@gmail.com>                                                                         Fri, Mar 28, 2014 at 11:52 AM
  To: Kyle Cooper <kyle@propertymasters.com>

     And that very well may happen. BoA has it listed being processed.

     You're money should have been back to you 2 weeks ago and it's my fault it wasn't. I apologize for that but it looks like
     we're near the end.

     Sent from my iPhone
     [Quoted text hidden]



  Kyle Cooper <kyle@propertymasters.com>                                                                        Fri, Mar 28, 2014 at 5:19 PM
  To: Jason Harvey <jharvey4128@gmail.com>

     Nothing is showing on my end as pending?


     Kyle Cooper
     Property Masters
     200 N. Cobb Pkwy
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     [Quoted text hidden]



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       Case 16-01034-whd   Doc 1    Filed 11/09/16 Entered 11/09/16 12:36:31   Desc Main
Exhibit "E"                        Document      Page 29 of 31
Exhibit Case
        "F"    16-01034-whd   Doc 1    Filed 11/09/16 Entered 11/09/16 12:36:31   Desc Main
                                      Document      Page 30 of 31
Case 16-01034-whd   Doc 1    Filed 11/09/16 Entered 11/09/16 12:36:31   Desc Main
                            Document      Page 31 of 31
